             Case 2:17-cv-02712-JJT Document 119 Filed 06/24/20 Page 1 of 3
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                            UNITED STATES DISTRICT COURT
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                                DISTRICT OF ARIZONA
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            _ _Preliminary Injunction _       TRO _     Non-Jury Trial _x__ ury Tria _

     Case Number CVI 7-02712-PHX-JJT          Start Date: 06/23/2020

     Jason Scott Collection, Inc. vs. Trendily Furniture, LLC; Trendily Home Collection;
     LLC; and Rahul Malhotra

              x   Plaintiff/Petitioner   _    Defendant/Respondent

 Exhibit       Marked         Admitted in                              Description
   No.         for ID          Evidence
1.                                               Photos of Jason Scott Sacred Heart Dining Table,
                            ~_;·11rzo            Borgota Buffet, Iron Star Desk

2.                                               Print ads featuring Jason Scott pieces
                            ~-?; ✓ ?lJ
3.                                               Photos of Jason Scott Collection line market
                             LQ-'t,~- 7})        display

4.                                               Articles about Jason Scott Collection
                             lo- 1,;✓ lO
5.
                              Lo-1~,,))          Photos of Trendily accused products

6.                                               Photo of Trendily table at Adobe Interiors
                               lo,✓ 1,,)-lD
7.
                              \JJ-✓1'3--W        Photo of Trendily buffet at Western Heritage

8.                                               Side-by-side comparison of Jason Scott and
                             ~-1}.s-W            Trendily Desks

9.                                               Comparison of Trendily desk with Jason Scott
                             l.Q-~?JW            carvmgs

10.                                              Screenshots of accused products on Trendily
                              v---n-/i 0         website

11.                                              Jason Scott's first cease-and-desist letter to
                              ~--v~~ZD           Trendily dated 5/24/2017


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       Case 2:17-cv-02712-JJT Document 119 Filed 06/24/20 Page 2 of 3

 Exhibit   Marked      Admitted in                        Description
   No.     for ID       Evidence
12.                                    Emails between Bill Holland and Jason Forsberg
                     Lo~i;r'io         dated May 2017

13.                                    Emails between Bill Holland and Jason Forsberg
                      \.Q,,dlJJ)lJ)    dated June 2017

14.                                    Sally Brumbaugh email to Jason Forsberg dated
                       \rt'l; ✓1D      7/6/2017 1:55 p.m.

15.                                    Sally Brumbaugh email to Jason Forsberg dated
                      lor' lhylO       7/6/2017 2:04 p.m.

16.                                    B. Runyon text to Jason Forsberg re: Trendily desk
                       lo~l)7,.,'lO    at Adobe dated 7/14/2017

17.                                    Adobe Facebook post of Trendily desk
                       VJ ✓i~ ,-io
18.                                    Adobe Facebook post of Trendily table
                       w✓~?✓iv
19.                                    RJ Chisum Facebook post of Trendily table
                       \p-'7)1-i1)
20.                                    Emails between Shawn Beach and Jason Fors berg
                       lR r-1,,7-LO    in July 2017

21.                                   Adobe text to Bo Runyon re: desk purchase
                       t_e~7};-'Z/)
22.
                    l_QrL~lJ)          Texts between Brian Forsberg and Ben Aufill

23.                                    Coyote Candle yearly sales summary
                    lQ ~ l '3--1,0
24.                                   Jason Scott lost profits summary

25.                                   Runyon's Cowboys & Indians ad with Jason Scott
                      l~ _fl};_,lTJ   Collection pieces

26.                                   Subpoena response by Western Heritage
                      1ovlh-'lu
27.
                       v,, 7/-J~ro    Subpoena response by Adobe Interiors

28.                                   MJ Invoices from Trendily

29.                                   CTT email and invoices


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           Case 2:17-cv-02712-JJT Document 119 Filed 06/24/20 Page 3 of 3

 Exhibit     Marked       Admitted in                          Description
   No.       for ID        Evidence
30.                                        Text messages between Rahul Malhotra and
                         la,l~1i)          Tanner Dipple of Adobe

31.                                        Trendily-CTI contract
                       \i /L'7--W
32.                                        Audio recording of meeting with Trendily reps at
                                           Runyon's Furniture on 8/15/2017
                                 17 /1f)
                         '\!) /1,,
33.                                        Defendants' responses to First Interrogatories by
                                           Jason Scott
                         U> r"U /iv
34.                                        Defendants' responses to First Requests for
                           LP / 1.,»-1})   Admission by Jason Scott

35.                                        Screenshot of Fiesta Furnishings website featuring
                             lp>l}rW       Jason Scott table

36.
                            \o/M/w         Jason Forsberg's May 2017 credit card statement

37.                                        Exhibits cited in depositions of witnesses testifying
                        Lo~;✓w             by deposition (filed Dkt. 107)

38.                                        Jason Scott's second cease-and-desist letter to
                        LJ2-l1/LO          Trendily dated 6/27/2017

39.                                        Brumbaugh's Furniture ad featuring Jason
                                           Forsberg

40.                                        Fiesta Furniture ad featuring Jason Forsberg

41.                                        Video of Edmond Furniture TV ad featuring Jason
                                           Scott Collection

42.

43.

44.

45.




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